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                                                                 ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                     DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                    DATE FILED: 11/27/2018
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 In re Application of                                          :
 REPUBLIC OF KAZAKHSTAN                                        :
 For an Order to Take Discovery Pursuant to 28 :
 U.S.C. § 1782(a)                                              :      1:18-mc-540
                                                               :
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GREGORY H. WOODS, United States District Judge:

        The Court has reviewed the Ex Parte Application of the Republic of Kazakhstan for Judicial

Assistance Pursuant to 28 U.S.C. § 1782 (the “Application”). The Court will not grant the requested

relief ex parte. Accordingly, Petitioner is directed to serve the Application and this order on the

intended respondents no later than December 7, 2018, and to retain proof of service. Any

opposition to the application must be served no later than December 31, 2018. Petitioner’s reply, if

any, is due no later than January 7, 2019. The Court expects the briefing to address the Second

Circuit’s holding in Kiobel by Samkalden v. Cravath, Swaine & Moore LLP, 895 F.3d 238 (2d Cir. 2018).

        The Court will hold a hearing on the Application on January 29, 2018 at 4:30 p.m. in

Courtroom 12C of the United States District Court for the Southern District of New York, Daniel

Patrick Moynihan U.S. Courthouse at 500 Pearl Street, New York, New York, 10007.

        SO ORDERED.

Dated: November 26, 2018
       New York, New York                                 __________________________________
                                                                 GREGORY H. WOODS
                                                                United States District Judge
